               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            CENTRAL DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
             Plaintiff,                      )
                                             )
      v.                                     )   Case No. 06-4002-01-CR-C-NKL
                                             )
RODNEY KEITH RODEBAUGH,                      )
                                             )
             Defendants.                     )
                                             )
                                             )


                                         ORDER

      On April 5, 2007, United States Magistrate Judge William A. Knox recommended

that the Court enter an Order denying Rodney Keith Rodebaugh’s (“Rodebaugh”) Motion

to Compel Disclosure of the Identity of Confidential Informers and/or Plea Agreements or

Other Consideration Relating Thereto. [Doc. # 225]. See Report and Recommendation

[Doc. # 404]. The R&R reminded Rodebaugh that he had ten days from the date he

received the R&R to file objections. More than ten days have passed and Rodebaugh has

not objected. After a de novo review of the record, the Court is convinced that the

recommendation of the Magistrate is correct and should be adopted.

      The Constitution does not require that prosecutors disclose the identity of

confidential informants in every case. McCray v. Illinois, 386 U.S. 300 (1967). To

compel disclosure of a confidential informant’s identity, a defendant must show that his


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right to the information outweighs the Government’s traditional privilege to withhold it.

Roviaro v. United States, 353 U.S. 53, 59-62 (1957). “In order to override the

Government’s privilege of nondisclosure, defendants must establish beyond mere

speculation that the informant’s testimony will be material to the determination of the

case.” United States v. Harrington, 951 F.2d 876, 877 (8th Cir. 1991). An informant’s

testimony is material if it is necessary to ensure a fair trial or is relevant and helpful to the

defense theory or the case. Id. Under this standard, the identity of a “tipster” whose

observations formed the basis for a search warrant but who will not be a witness

at trial is not subject to compulsion. United States v. Moore, 129 F.3d 989, 992 (8th Cir.

1997). The defendant bears the burden of demonstrating a need for disclosure. Id. (citing

Roviaro, 353 U.S. at 59.

       Rodebaugh has not demonstrated that the non-testifying confidential informants

have any evidence which is material to any issue in this case. Those who will testify must

be disclosed seven days before trial per the Court’s Scheduling Order, along with any

information concerning plea agreements and inducements. The Government has

indicated it will comply with that Order, and the Court finds no reason to accelerate those

deadlines.

       Accordingly, it is

       ORDERED that Judge Knox’s Report and Recommendation of April 5, 2007

[Doc. # 404], is ADOPTED.

                                                    s/ Nanette K. Laughrey
                                                    NANETTE K. LAUGHREY

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                                         United States District Judge

Dated: July 9, 2007
Jefferson City, Missouri




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